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                       IN THE UNITED STATES DISTRICT COURT
                         FOR EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

____________________________________
                                           )
FRANCE.COM, INC.,                          )
                                           )       Civil No. 1:18-cv-00460-LO-IDD
       Plaintiff,                          )
                                           )
v.                                         )
                                           )
THE FRENCH REPUBLIC, ATOUT                 )
FRANCE, THE MINISTRY FOR                   )
EUROPE AND FOREIGN AFFAIRS,                )
JEAN-YVES LE DRIAN, in his official        )
capacity as the French Republic’s Minister )
for Europe and Foreign Affairs,            )
 <france.com>, a domain name, and          )
VERISIGN, INC.,                            )
                                           )
       Defendants.                         )
                                           )


                         SUGGESTION OF IMMUNITY
                 SUBMITTED BY THE UNITED STATES OF AMERICA

       The United States of America, pursuant to 28 U.S.C. § 517, 1 respectfully informs the

Court of the Government’s interest in this pending lawsuit against Foreign Minister Jean-Yves

Le Drian, the sitting Minister of Foreign Affairs of the French Republic, among others, and

hereby informs the Court that Foreign Minister Le Drian is immune from this suit.2 In support of

its interest and Suggestion of Immunity, the United States sets forth as follows:



1
 28 U.S.C. § 517 provides that “any officer of the Department of Justice[] may be sent by the
Attorney General to any State or district in the United States to attend to the interests of the
United States.”
2
  In this Suggestion of Immunity, the United States expresses no view on the merits of Plaintiff’s
claims against Foreign Minister Le Drian. The United States also expresses no view at this time
on France’s motion to dismiss for lack of jurisdiction on the basis of France’s sovereign
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       1.      The United States has an interest in this action because Foreign Minister Le Drian

is the sitting Minister of Foreign Affairs of the French Republic, thus raising the question of his

immunity from the Court’s jurisdiction while in office. The Constitution assigns to the President

of the United States alone the responsibility for representing the Nation in its foreign relations.

See, e.g., U.S. Const. Art. 2 § 3 cl. 4. As incident to that power, the Executive Branch has the

authority to determine the immunity from suit of, inter alia, sitting heads of state, heads of

government, and foreign ministers. After considering the relevant principles of customary

international law, the implementation of the United States’ foreign policy, and the potential

implications for international relations, the Executive Branch has decided to recognize Foreign

Minister Le Drian’s immunity from this suit. As discussed below, this determination is

controlling and is not subject to judicial review. Indeed, no court has ever subjected a sitting

head of state, head of government, or foreign minister to suit after the Executive Branch has

determined that he or she is immune.




immunity. The United States does note, however, that the Foreign Sovereign Immunities Act
aims to protect foreign sovereigns not only from liability but also discovery and other burdens of
litigation. See, e.g., EM Ltd. v. Republic of Argentina, 695 F.3d 201, 210 (2d Cir. 2012)
(“Because sovereign immunity protects a sovereign from the expense, intrusiveness, and hassle
of litigation, a court must be ‘circumspect’ in allowing discovery before the plaintiff has
established that the court has jurisdiction over a foreign sovereign defendant under the FSIA.”
(quoting First City, Texas-Houston, N.A. v. Rafidain Bank, 150 F.3d 172, 176 (2d Cir. 1998)));
Hansen v. PT Bank Negara Indonesia (Persero), TBK, 601 F.3d 1059, 1063–64 (10th Cir. 2010);
Kelly v. Syria Shell Petroleum Dev. B.V., 213 F.3d 841, 849 (5th Cir. 2000). In light of these
considerations, “a court should decide the foreign sovereign immunity’s defense ‘[a]t the
threshhold’ of the action” and, “if a decision about the matter requires resolution of factual
disputes, the court . . . should do so as near to the outset of the case as is reasonably possible.”
Bolivarian Republic of Venezuela v. Helmerich & Payne Int’l Drilling Co., 137 S. Ct. 1312,
1324 (2017) (quoting Verlinden B.V. v. Cent. Bank of Nigeria, 461 U.S. 480, 493 (1983)).
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       2.      The Office of the Legal Adviser of the Department of State has informed the

Department of Justice that the Embassy of France has formally requested the Government of the

United States to inform the Court that Foreign Minister Le Drian is immune from this lawsuit.

The Office of the Legal Adviser has further informed the Department of Justice that the

“Department of State recognizes and allows the immunity of Foreign Minister Le Drian as a

sitting foreign minister from the jurisdiction of the United States District Court in this suit.”

Letter from Marik String to Joseph H. Hunt (copy attached as Exhibit 1).

       3.       The immunity of foreign states and foreign officials from suit in our courts has

different sources. For many years, such immunity was determined exclusively by the Executive

Branch, and courts deferred completely to the Executive’s foreign sovereign immunity

determinations. See, e.g., Republic of Mexico v. Hoffmann, 324 U.S. 30, 35 (1945) (“It is

therefore not for the courts to deny an immunity which our government has seen fit to allow, or

to allow an immunity on new grounds which the government has not seen fit to recognize.”). In

1976, Congress codified the standards governing suit against foreign states in the Foreign

Sovereign Immunities Act (“FSIA”), transferring to the courts the responsibility for determining

whether a foreign state is subject to suit. 28 U.S.C. §§ 1602 et seq.; see also id. § 1602 (“Claims

of foreign states to immunity should henceforth be decided by courts of the United States and of

the States in conformity with the principles set forth in this chapter.”).

       4.      As the Supreme Court has explained, however, Congress has not similarly

codified standards governing the immunity of foreign officials from suit in our courts. Samantar

v. Yousuf, 560 U.S. 305, 325 (2010) (“Although Congress clearly intended to supersede the

common-law regime for claims against foreign states, we find nothing in the statute’s origin or

aims to indicate that Congress similarly wanted to codify the law of foreign official immunity.”).



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Instead, when it codified the principles governing the immunity of foreign states, Congress left in

place the practice of judicial deference to Executive Branch immunity determinations with

respect to foreign officials. See id. at 323 (“We have been given no reason to believe that

Congress saw as a problem, or wanted to eliminate, the State Department’s role in

determinations regarding individual official immunity.”). Thus, the Executive Branch retains its

historic authority to determine a foreign official’s immunity from suit, including the immunity of

foreign heads of state, heads of government, and foreign ministers. See id. at 311 & n.6 (noting

the Executive Branch’s role in determining head of state immunity).

       5.      The doctrine of head of state immunity is well established in customary

international law “pursuant to which an incumbent ‘head of state is immune from the jurisdiction

of a foreign state’s courts.’” Yousuf v. Samantar, 699 F.3d 763, 769 (4th Cir. 2012) (quoting In

re Grand Jury Proceedings, 817 F.2d 1108, 1110 (4th Cir. 1987)); see also SATOW’S

DIPLOMATIC PRACTICE 9 (Lord Gore-Booth ed., 5th ed. 1979). Although the doctrine is referred

to as “head of state immunity,” it applies to heads of government and foreign ministers as well.

See Republic of Austria v. Altmann, 541 U.S. 677, 688 (2004) (noting that Schooner Exch. v.

McFaddon, 11 U.S. (7 Cranch) 116 (1812), “generally viewed as the source of our foreign

sovereign immunity jurisprudence,” found that “members of the international community had

implicitly agreed to waive the exercise of jurisdiction over other sovereigns in certain classes of

cases, such as those involving foreign ministers or the person of the sovereign”); accord

Restatement (Second) of Foreign Relations Law §§ 65, 66 (1965) (noting that the immunity of a

foreign state is enjoyed by heads of state, heads of government, and foreign ministers). Thus,

U.S. courts, beginning with the Supreme Court in Schooner Exchange, have specifically

recognized the immunity of sitting foreign ministers based on their status. See, e.g., Force v.



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Sein, No. 15-cv-7772-LGS, 2016 WL 1261139, *1 (S.D.N.Y. Mar. 20, 2016) (recognizing

application of head of state immunity to Myanmar’s foreign minister); Tachiona v. Mugabe,

169 F. Supp. 2d 259, 296–97 (S.D.N.Y. 2001) (recognizing application of head of state

immunity to Zimbabwe’s foreign minister), rev’d in part on other grounds, Tachiona v. United

States, 386 F.3d 205 (2d Cir. 2004).

       6.      In the United States, head-of-state immunity determinations are made by the

Department of State, exercising the President’s authority in the field of foreign affairs. The

Supreme Court has held that the courts of the United States are bound by Suggestions of

Immunity submitted by the Executive Branch. See Hoffman, 324 U.S. at 35–36; Ex parte

Republic of Peru, 318 U.S. 578, 588–89 (1943). In Ex parte Republic of Peru, the Supreme

Court decided, in the context of pre-FSIA foreign state immunity, that “[u]pon recognition and

allowance of the [immunity] claim by the State Department and certification of its action

presented to the court by the Attorney General, it is the court’s duty to surrender the [matter] and

remit the libelant to the relief obtainable through diplomatic negotiations.” 318 U.S. at 588; see

also id. at 589 (“The certification and the request [of immunity] . . . must be accepted by the

courts as a conclusive determination by the political arm of the Government.”). Such deference

to the Executive Branch’s determinations of foreign state immunity is compelled by the

separation of powers. See, e.g., Spacil v. Crowe, 489 F.2d 614, 619 (5th Cir. 1974) (“Separation-

of-powers principles impel a reluctance in the judiciary to interfere with or embarrass the

executive in its constitutional role as the nation’s primary organ of international policy.” (citation

omitted)).




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       7.       For the same reason, courts have also routinely deferred to the Executive

Branch’s immunity determinations concerning sitting heads of state, heads of government, and

foreign ministers. See, e.g., Samantar, 699 F.3d at 772 (“[C]onsistent with the Executive’s

constitutionally delegated powers and the historical practice of the courts, we conclude that the

State Department’s pronouncement as to head-of-state immunity is entitled to absolute

deference.”); Habyarimana v. Kagame, 696 F.3d 1029, 1032 (10th Cir. 2012) (“We must accept

the United States’ suggestion that a foreign head of state is immune from suit—even for acts

committed prior to assuming office—as a conclusive determination by the political arm of the

Government that the continued [exercise of jurisdiction] interferes with the proper conduct of our

foreign relations.” (internal quotations marks omitted)); Ye v. Jiang Zemin, 383 F.3d 620, 626

(7th Cir. 2004) (“The obligation of the Judicial Branch is clear—a determination by the

Executive Branch that a foreign head of state is immune from suit is conclusive and a court must

accept such a determination without reference to the underlying claims of a plaintiff.”); Miango

v. Democratic Republic of Congo, No. 15-1265-ABJ, 2019 WL 2191806, *2 (D.D.C. Jan. 19,

2019) (“Courts are bound by Suggestions of Immunity submitted by the Executive Branch.”

(citations omitted)).

       8.      When the Executive Branch makes a determination that a sitting head of state,

head of government, or foreign minister is immune from suit, judicial deference to that

determination is predicated on compelling considerations arising out of the Executive Branch’s

authority to conduct foreign affairs under the Constitution. See Ye, 383 F.3d at 626. Judicial

deference to the Executive Branch in these matters, the Seventh Circuit noted, is “motivated by

the caution we believe appropriate of the Judicial Branch when the conduct of foreign affairs is




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involved.” Id.; see also Ex parte Peru, 318 U.S. at 588; Spacil, 489 F.2d at 619). 3 As noted

above, in no case has a court subjected a sitting head of state, head of government, or foreign

minister to suit after the Executive Branch has determined that the head of state, head of

government, or foreign minister is immune.4

       9.      Under the customary international law principles accepted by the Executive

Branch, head of state immunity attaches to a foreign minister’s status as the current holder of that

office. In this case, because the Executive Branch has determined that Foreign Minister Le

Drian, as the sitting Minister of Foreign Affairs of the French Republic, enjoys head of state

immunity from the jurisdiction of U.S. courts in light of his current status, Foreign Minister Le

Drian is entitled to immunity from the jurisdiction of this Court over this suit.




3
  As other courts have explained, the Executive Branch possesses substantial institutional
resources and extensive experience with which to conduct the country’s foreign affairs, and the
judiciary does not. See, e.g., Spacil, 489 F.2d at 619; United States v. Truong Dinh Hung, 629
F.2d 908, 913–14 (4th Cir. 1980). Furthermore, “in the chess game that is diplomacy[,] only the
executive has a view of the entire board and an understanding of the relationship between
isolated moves.” Spacil, 489 F.2d at 619.
4
   To the contrary, courts have uniformly dismissed cases against heads of state, heads of
government, and/or foreign ministers after the U.S. government filed a suggestion of immunity.
See, e.g., Miango, 2019 WL 2191806, at *2; Tawfik v. al-Sabah, No. 11 Civ. 6455, 2012 WL
3542209, at *3–*4 (S.D.N.Y. Aug. 16, 2012); Manoharan v. Rajapaksa, 845 F. Supp. 2d 260,
263–64 (D.D.C. 2012), aff’d, 711 F.3d 178 (D.C. Cir. 2013); Habyarimana v. Kagame, 821 F.
Supp. 2d 1244, 1263–64 (W.D. Okla. 2011) (“Where the United States’ Executive Branch has
concluded that a foreign head of state is immune from suit, and where it has urged the Court to
take recognition of that fact and to dismiss the suit pending against said head of state, the Court
is bound to do so.”), aff’d, 696 F.3d 1029 (10th Cir. 2012); Leutwyler v. Queen Rania Al-
Abdullah, 184 F. Supp. 2d 277, 280 (S.D.N.Y. 2001) (holding that the Executive Branch’s
immunity determination on behalf of the Queen of Jordan “is entitled to conclusive deference
from the courts”); Tachiona, 169 F. Supp. 2d at 297 (dismissing a suit against the President and
Foreign Minister of Zimbabwe based upon a Suggestion of Immunity filed by the Executive
Branch).
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                                        CONCLUSION

       For the foregoing reasons, the United States respectfully submits to the Court that

Foreign Minister Le Drian is immune from this action.




Dated: December 4, 2019                             Respectfully submitted,

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